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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA


KEISHA BROWN, AS ADMINISTRATOR OF
THE ESTATE OF AARON JENKINS
                                                       CIVIL ACTION
                          Plaintiff
       v.
                                                       NO. 2:20-cv-05532-CMR
CITY OF PHILADELPHIA, PHILADELPHIA
AIRPORT, WORLDWIDE FLIGHT SERVICES,
INC., and FRONTIER AIRLINES
                          Defendants

  DEFENDANT WORLDWIDE FLIGHT SERVICES, INC.’S MEMORANDUM OF LAW
 IN SUPPORT OF THE MOTION TO DISMISS PLAINTIFF’S AMENDED COMPLAINT

        For these reasons, as outlined in the Motion to Dismiss plaintiff’s Amended Complaint

by defendant Worldwide Flight Services, Inc. (“WFS”), and as set forth at length below,

defendant WFS respectfully requests that the Court grant its Motion and dismiss all allegations

against WFS in the Amended Complaint filed by plaintiff Keisha Brown, As the Administrator

of the Estate of Aaron Jenkins (“plaintiff”).

I.      MATTER BEFORE THE COURT

        This matter involves claims of negligence arising out of a fatal stabbing which occurred

at the Philadelphia International Airport (“PHL”) on May 3, 2018. The incident involved

plaintiff’s son, Aaron Jenkins, and his co-worker Kevin Emanuel. Both individuals were

employed by WFS at the time of the incident.

        Specifically, WFS seeks dismissal of Count II (Negligence – Premises Liability) and

punitive damages on the following bases: 1) plaintiff has failed to properly allege a claim of

negligence against WFS where the location of the subject incident is not identified and there are

no claims that WFS owned, leased or managed the subject premises; 2) plaintiff’s claims are




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barred by the Workers’ Compensation Act since WFS is plaintiff’s employer and there are no

facts alleged to support that the “personal animus” exception of the Act applies; and 3) plaintiff’s

general request for punitive damages in her “wherefore” clauses and conclusory allegations that

WFS acted “recklessly” should be dismissed as plaintiff has not pled the requisite elements for

punitive damages pursuant to Pennsylvania law. For these reasons, discussed in greater length in

the attached Memorandum of Law, defendant WFS respectfully requests that the Court dismiss

all allegations against WFS in plaintiff’s Amended Complaint with prejudice.

II.     STATEMENT OF QUESTIONS INVOLVED

        A. Should Count II of plaintiff’s Amended Complaint be dismissed because plaintiff
             fails to allege a valid claim of negligence against WFS, where the location of the
             subject incident is not identified and there are no claims that WFS owned, leased or
             managed the subject premises?

             Suggested Answer: Yes.
        B. Should Count II of plaintiff’s Amended Complaint be dismissed because plaintiff
             asserts negligence claims which are barred by the Pennsylvania Workers’
             Compensation Act since WFS is plaintiff’s employer?

             Suggested Answer: Yes.

        C. Should Plaintiff’s claims for punitive damages and conclusory allegations that WFS

             acted “recklessly” should be stricken with prejudice because Plaintiff fails to allege

             specific facts to support the alleged conduct by WFS?

             Suggested Answer: Yes.

III.    RELEVANT BACKGROUND

        A.      PROCEDURAL BACKGROUND

        Plaintiff began this action by filing a Writ of Summons in the Philadelphia County Court of

Common Pleas on May 3, 2020. Plaintiff filed a Complaint on October 8, 2020 against defendants

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the City of Philadelphia, Philadelphia Airport, Worldwide Flight Services, Inc., and Frontier

Airlines. On November 5, 2020, defendants City of Philadelphia and Philadelphia Airport filed a

Notice of Removal with the United States District Court for the Eastern District of Pennsylvania.

Plaintiff filed an Amended Complaint on November 26, 2020. See Ex. A. Therefore, the instant

Motion to Dismiss is timely.

        B.     FACTUAL HISTORY

        Plaintiff Keisha Brown, as administrator of the Estate of Aaron Jenkins, alleges in her

Amended Complaint that on May 3, 2018, during her son, Aaron Jenkins’ employment with WFS at

the Philadelphia Airport (“PHL”), Jenkins was stabbed in his leg by another WFS employee, Kevin

Emanuel. Jenkins passed away that same day. See Ex. A. Plaintiff alleges that plaintiff decedent

Jenkins was an employee of WFS. Id. at ¶¶14, 56. In Count II, plaintiff alleges that plaintiff

decedent Jenkins’ death was caused by the negligence of WFS. Id. at ¶¶ 52-68. Plaintiff alleges

that the Workers’ Compensation Act’s exclusivity provision does not apply to WFS, plaintiff

decedent Jenkins’ employer. Id. For the reasons set forth below, plaintiff’s cause of actions

contained in Count II (Negligence – Premises Liability) and alleged punitive damages against

WFS must be dismissed, with prejudice.

IV.     ARGUMENT

        A.     STANDARD OF REVIEW

        To survive a motion to dismiss, a complaint must allege facts that adequately set forth

each of the essential elements of a cause of action. Nami v. Fauver, 82 F.3d 63, 65 (3rd Cir.

1996). Although the Court must accept all well-pleaded factual allegations contained in the

complaint, it need not credit bare allegations, conclusory assertions or unwarranted factual

inferences. Maio v. Aetna, Inc., 221 F.3d 472, 485 n.12 (3rd Cir. 2000); Morse v. Lower Merion



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School District, 132 F.3d 902, 906 (3rd Cir. 1997); Kost v. Kozakiewwicz, 1 F.3d 176, 183 (3d

Cir. 1993); Perry v. Grant, 775 F.Supp. 821 (M.D. Pa. 1991). Bald assertions and conclusions of

law will similarly not survive a motion to dismiss. Gardiner v. Mercyhurst College, 942 F.Supp.

1050, 1052 (M.D. Pa. 1995).

        The Third Circuit has summarized the applicable pleading standard as follows:

               While Rule 12(b)(6) does not permit dismissal of a well-pleaded
               complaint simply because "it strikes a savvy judge that actual
               proof of those facts is improbable," the "[f]actual allegations must
               be enough to raise a right to relief above the speculative level."
               [Bell Atlantic Corp. v. Twombly, 550 U.S. 544, 127 S. Ct. 1955
               167 L. Ed. 2d 929 (2007)] at [127 S. Ct.] 1965.

               The Supreme Court's Twombly formulation of the pleading
               standard can be summed up thus: "stating . . . a claim requires a
               complaint with enough factual matter (taken as true) to suggest"
               the required element. Id. This "does not impose a probability
               requirement at the pleading stage," but instead "simply calls for
               enough facts to raise a reasonable expectation that discovery will
               reveal evidence of" the necessary element. Id.

Phillips v. County of Allegheny, 515 F.3d 224, 234 (3rd Cir. 2008).

        In ruling on a motion to dismiss, the Court must accept as true all well-pleaded facts and

allegations and must draw all reasonable inferences therefrom in favor of the plaintiff. See

Ashcroft v. Iqbal, 556 U.S. 662, 129 S.Ct. 1937, 1949-50 (2009); Twombly, 550 U.S. at 555. As

the Supreme Court made clear in Twombly, however, the “factual allegations must be enough to

raise a right to relief above the speculative level.” Twombly, 550 U.S. at 555. The Supreme

Court has subsequently broadened the scope of this requirement, stating that “only a complaint

that states a plausible claim for relief survives a motion to dismiss.” Iqbal, 129 S.Ct. at 1950

(citing Twombly, 550 U.S. at 556). This standard requires showing more than a mere possibility

that a defendant has acted unlawfully. Iqbal, 129 S.Ct. at 1949 (citing Twombly, 550 U.S. at

556). “Where a complaint pleads facts that are ‘merely consistent with’ a defendant's liability, it


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‘stops short of the line between possibility and plausibility of entitlement to relief.’” Iqbal, 129

S.Ct. at 1949 (quoting Twombly, 550 U.S. at 557). “This ‘plausibility’ determination will be ‘a

context-specific task that requires the reviewing court to draw on its judicial experience and

common sense.’” Fowler v. UPMC Shadyside, 578 F.3d 203, 211 (3d Cir. 2009) (quoting Iqbal,

129 S.Ct. at 1949).

        After Iqbal, the United States Court of Appeals for the Third Circuit explained that a

district court must conduct the following analysis to determine the sufficiency of a complaint:

               First, the court must “tak[e] note of the elements a plaintiff must
               plead to state a claim.” Second, the court should identify
               allegations that, “because they are no more than conclusions, are
               not entitled to the assumption of truth.” Finally, “where there are
               well-pleaded factual allegations, a court should assume their
               veracity and then determine whether they plausibly give rise to an
               entitlement for relief.”"

Santiago v. Warminster Twp., 629 F.3d 121, 130 (3d Cir. 2010) (quoting Iqbal, 129 S.Ct. at

1947, 1950); see also Burtch v. Milberg Factors, Inc., 662 F.3d 212, 221 (3d Cir. 2011), cert.

denied, 2012 U.S. LEXIS 2594 (2012); Malleus v. George, 641 F.3d 560, 563 (3d Cir. 2011).

        Twombly and Iqbal have not changed the other pleading standards for a motion to dismiss

pursuant to Fed.R.Civ.P. 12(b)(6), and the requirements of Fed.R.Civ.P. 8 must still be met. See

Burtch, 662 F.3d at 220. Rule 8 requires a showing, rather than a blanket assertion, of

entitlement to relief, and “contemplates the statement of circumstances, occurrences, and events

in support of the claim presented and does not authorize a pleader's bare averment that he wants

relief and is entitled to it.” Twombly, 550 U.S. at 555 n. 3 (internal alterations, citations, and

quotations omitted). Moreover, this standard does not give Plaintiffs carte blanch to ignore facts

developed during discovery or make unsubstantiated allegations.




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        B.     COUNT II OF PLAINTIFF’S AMENDED COMPLAINT MUST BE
               DISMISSED AS PLAINTIFF CANNOT SET FORTH A CLAIM AGAINST
               WFS FOR NEGLIGENCE AS JENKINS’ EMPLOYER

        In Count II, plaintiff asserts negligence against WFS. It is alleged that plaintiff

decedent Jenkins was an employee of WFS and the subject incident took place “during his

lunch break” as a result of his co-worker’s actions. Ex. A at ¶¶32, 56, 58. First, plaintiff fails

to identify the specific location of the subject incident. As such, plaintiff cannot make out a

valid claim for negligence against WFS. Second, plaintiff's claims against WFS are barred

by the exclusivity provision of the Pennsylvania Workers’ Compensation Act.                   The

“exclusivity provision” of Pennsylvania's Workers’ Compensation Act, set forth at 77 P.S.

Section 481, states as follows:

                (a) The liability of an employer under this act shall be exclusive
                and in place of any and all other liability to such employees, his
                legal representative, husband or wife, parents, dependents, next of
                kin or anyone otherwise entitled to damages in any action at law
                or otherwise on account of any injury or death as defined in
                section 301 (c)(1) and (2) [77 P.S. section 411(1) and (2) . .


        The Workers’ Compensation Act was established to provide a remedy for work-related

injuries. Gertz v. Temple University, 661 A.2d 13, 14 (1995), (citations omitted). The Act

created a balance of interests in which an employee surrenders the right to sue an employer in

tort for injuries received in the course of employment to obtain the benefit if strict liability 77

P.S. section 481(a). If an injury is compensable under the Act, the compensation provided by

the Act is the employee's exclusive remedy. Wasserman v. Fifth & Reed Hospital, 660 A.2d

600, 604 (Pa. Super. 1995) (citations omitted). Thus, an injured employee cannot maintain a tort

action against his or her employer if the injury is compensable under the provisions of the Act.

Gertz, 661 A.2d at 15.


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              77 P.S. Section 411(1) provides as follows:

                     The terms "injury" and "personal injury," as used in this act shall
                     be construed to mean an injury to an employee, regardless of his
                     previous physical condition, arising in the course of his
                     employment and related thereto. . . and whenever death is
                     mentioned as a cause for compensation under this act, it shall mean
                     only death resulting from such injury and its resultant effects, and
                     occurring within three hundred weeks after the injury. The term
                     "injury arising in the course of his employment," as used in this
                     article... shall include all other injuries sustained while the
                     employee is actually engaged in the furtherance of the business or
                     affairs of the employer, whether upon the employer's premises or
                     elsewhere, and shall include all injuries caused by the condition of
                     the premises or by the operation of the employer's business or
                     affairs thereon, sustained by the employee, who, though not so
                     engaged, is injured upon the premises occupied by or under the
                     control of the employer, or upon which the employer's business or
                     affairs are being carried on, the employee's presence thereon being
                     required by the nature of his employment.

          Essentially, then, there are two ways in which an injury may arise out of the course of

employment. First, the employee was actually furthering the employer's business or affairs

when the injury occurred, or, second, the employee was injured by a condition on a portion of

the employer's premises where his/her presence was required. Dennis v. Kravco, 761 A.2d

1204, 1206 (Pa. Super. 2000). There is no exception for intentional torts, and there has been

no interpretation to allow any such exception. See Poyser v. Newman & Co., 514 Pa. 32, 522

A.2d 548, 551 (Pa. 1987).

          In the case at bar, plaintiff decedent Jenkins’ injury occurred during the scope of his

employment with WFS. WFS is the employer of plaintiff decedent Jenkins as evidenced by

his 2017 and 2018 W-2 forms, attached hereto at Ex. B.2 As further proof of employment,


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  Circuito Cerrado, Inc. v. Katuran, No. 10-4343, 2011 U.S. Dist. LEXIS 100622, at *7 n.18 (E.D. Pa. Sep. 6, 2011)(citing Lum
v. Bank of Am., 361 F.3d. 217, 222 n.3 (3d Cir. 2004) (in deciding a 12(b)(6) motion to dismiss, a court may consider exhibits
attached to the complaint and documents that form the basis of the claim; a document forms the basis of the claim if it is integral
to or explicitly relied upon in the complaint); Pension Ben. Guar. Corp. v. White Consol. Indus., Inc., 998 F.2d 1192, 1196 (3d
Cir. 1993) ("To decide a motion to dismiss, courts generally consider only the allegations contained in the complaint, exhibits
attached to the complaint and matters of public record.")).

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WFS attaches its offer of employment to plaintiff decedent Jenkins and an executed copy

of WFS ramp service clerk job description, attached hereto at Ex. C.              As such, the

exclusivity provision of the Workers’ Compensation Act precludes plaintiff’s claims for

liability against WFS, on any basis other than under the Workers’ Compensation procedure

and Count III must be dismissed against WFS with prejudice.

         Notwithstanding the above, plaintiff alleges she may proceed forward with suit under the

“personal animus” exception of the Workers’ Compensation Act. To set forth a valid cause of

action implicating personal animus or third-party attach exception to the Act’s exclusivity

provision, plaintiff must allege that plaintiff decedent’s injuries were “caused by the intentional

conduct of third parties for reasons personal to the tortfeasor and not directed against [the

plaintiff] as an employee or because of his employment.” Jackson v. Lehigh Valley Physicians

Group, 2009 U.S. Dist. LEXIS 6936 (E.D. Pa. 2009). “To fit within the [personal animus]

exception, the third party or fellow employees act must have been motivated by his animosity

against the injured employee and not directed against the injured person because of the

employment.” Martin-McFarlane v. City of Philadelphia, 299, F. Supp. 3d 658, 673 (E.D. Pa.

2017).

         Count II states in relevant part:

             57. Under personal animus or third-party attack exception to Workers'
                 Compensation Act's exclusivity provision, the exclusivity
                 provision does not preclude damage recoveries by employee based
                 upon employer negligence in maintaining safe workplace if such
                 negligence is associated with injuries inflicted by coworker for
                 purely personal reasons. 77 P.S. §§ 411(1), 481.

             58. Decedent was attacked during his lunch break while an argument
                 ensued with someone for whom he has had previous negative
                 encounters which had nothing to do with his employment.




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             59. Based upon their pre-existing relationship along with Emanuel's
                 possession of a knife, Decedent was stabbed In his leg solely
                 because of the two parties argument.

             60. A Showing of personal animus is not strictly required to implicate
                 personal animus or third party attack exception to Workers'
                 Compensation Act's exclusivity provision; rather, what is required
                 is a showing that victim was attacked for purely personal reasons
                 unrelated to employment. 77 P.S. §§ 411(1), 481.

Ex. A.
         Here, plaintiff fails to state a valid claim for negligence against WFS. Again, plaintiff

fails to identify the location of the alleged incident in her Amended Complaint. Plaintiff, also

alleges that the incident took place “while decedent was napping during his scheduled break”, a

time during which WFS had no duty to plaintiff decedent Jenkins. More importantly, there are no

allegations that WFS owned, leased or managed the subject premises at the Philadelphia

International Airport. As such, it cannot be established that WFS breached any duty to plaintiff

decedent Jenkins.

         Further, there are no allegations to support that the subject incident was derived from

personal animus between plaintiff decedent Jenkins and his co-worker Emanuel. Plaintiff alleges

only that during plaintiff decedent’s employment he was “bullied and tormented” by Emanuel.

¶27.     Plaintiff also vaguely and generally alleges plaintiff decedent Jenkins was attacked

following an argument with someone “which had nothing to do with his employment.” ¶58.

However, such unsubstantiated, conclusory claims are not sufficient to establish a valid cause of

action against WFS for negligence under this exception. Plaintiff’s general averments fail to give

rise to a “plausible inference” that the underlying incident was due to or motivated by personal

reasons. In Count II, plaintiff’s allegations do not satisfy the requirements to establish a basis for

the application of the personal animus exception of the Workers’ Compensation Act against

WFS, who is immune from liability as plaintiff decedent’s employer. Additionally, plaintiff has


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failed to properly assert a claim for negligence against WFS and all allegations against it must be

dismissed with prejudice.

        C.      PLAINTIFF’S CLAIMS FOR PUNITIVE DAMAGES MUST BE
                DISMISSED


        Plaintiff seeks the recovery of punitive damages against all defendants as set forth in her

“wherefore” clauses for each count asserted. See Ex. A. Further, plaintiff alleges:

        Defendant had a duty to act reasonable and use due care while Decedent
        was an employee at PHL. Defendant breached that duty of due care and
        acted negligently and/or carelessly, and/or recklessly and/or in reckless
        disregard to Plaintiff by:

             a. Failing to ensure that there were security checkpoints for visitors at
                PHL.

             b. Failing to ensure that there were security checkpoints for airport
                staff at PHL.

             c. Failing to investigate the safety of the employees after Defendants
                were put on notice that weapons were entering PHL.

             d. Failing to supervise employees.

             e. Failing to protect Plaintiff from the injury he endured at
                Defendants' facility.


Ex. A, ¶ 66. Plaintiff’ s request for punitive damages against WFS should be dismissed as

plaintiff has not pled the requisite elements for punitive damages pursuant to Pennsylvania law.

        “The legal standard for punitive damages must be discerned from state law.” Hittle v.

Scipto-Tokai, 166 F.Supp.2d 142, 158 (MD Pa. 2001). Pennsylvania does not permit punitive

damages for mere inadvertence, mistake, or similar errors which constitute ordinary negligence.

Witchey v. Lisi, 17 D.&C.3 d 131 (Clinton Co. 1980) (citing Restatement of Torts (Second),

§908, Comment (b)). Under the Restatement (Second) of Torts §908, punitive damages are only



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available where there has been outrageous conduct, i.e. acts done with an evil motive or with

reckless indifference to the rights of others. Geyer v. Steinbronn, 506 A.2d 901 (Pa. 1986). The

proper focus is on the act itself, together with all the circumstances including motive of the

wrongdoer and the relations between the parties. See Hittle, 166 F.Supp.2d at 152. Additionally,

the actor's state of mind is relevant. The act or omission must be intentional, reckless, or

malicious. See Id.

        Pennsylvania Appellate Courts have made it clear that “reckless indifference” , the

standard for imposing punitive damages under Restatement of Torts (Second) §908, requires a

more culpable mental state of conscious indifference to another's safety. Martin v. Johns-

Mansville, 494 A.2d 1088 (Pa. 1985). There must be some evidence that the person actually

realized the risk and acted in conscious disregard or indifference to it. Martin, 494 A.2d at 1097;

Burke v. Massen, 904 F.2d 178, 182 (3d Cir. 1990). Explaining the rationale for the rule, the

Court in Martin stated:

               The only purpose of punitive damages is to deter
               outrageous conduct. It is impossible to deter a person from
               taking risky action if he is not conscious of the risk . . .
               therefore, an appreciation of the risk is a necessary element
               of the mental state required for the imposition of [punitive]
               damages.

Martin, 494 A.2d at 1097 N.12; Burke, 904 F.2d at 183.

        In Smith v. Brown, 283 Pa. Super. 116, 423 A.2d 743 (1979), the Superior Court of

Pennsylvania discussed the pleading requirements for a claim for punitive damages and noted

that because Pennsylvania is a fact pleading state, “[A] Complaint must not only give the

defendant notice of what the plaintiff’s claim is and the grounds upon which it rests, but it must

also formulate the issues by summarizing those facts essential to support the claim. Smith v.

Brown, 423 A.2d at 745. The Smith Court went on to state that:


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               Pennsylvania is a fact pleading state. Pa.R.C.P. 1019(a). A
               Complaint must not only give the defendant notice of what
               the plaintiff’s claim is and the grounds upon which it rests,
               but it must also formulate the issues by summarizing those
               facts essential to support the claim. Baker, et al. v. Rayos,
               et al., 229 Pa. Super. 333, 324 A.2d 498 (1974).

               An essential fact needed to support a claim for punitive
               damages is that the defendant’s conduct must have been
               outrageous. Outrageous conduct is an act done with a bad
               motive or with a reckless indifference to the interests of
               others.

               “Reckless indifference to the interests of others”, or as it is
               sometimes referred to, “wanton misconduct”, means that
               “the actor has intentionally done an act of an unreasonable
               character, in disregard of a risk known to him or so obvious
               that he must be taken to have been aware of it, and so great
               as to make it highly probable that harm would follow.”
               Evans v. Philadelphia Transportation Company, 418 Pa.
               567, 574, 212 A.2d 440, 443 (1965).

Smith v. Brown, 423 A.2d at 745 (additional citations omitted.)

        In the present matter, punitive damages may be awarded only for conduct that is clearly

outrageous or malicious based on the facts in support of such conduct. As pled, plaintiff’s

Amended Complaint contains no material facts that support a request for punitive damages

against WFS.      Plaintiffs’ vague, unsupported claims for punitive damages and allegation of

“recklessness” do not provide a factual basis for a claim of punitive damages. See Ex. A at

“wherefore” clauses and ¶ 66. Plaintiff has not plead facts, which if true, demonstrate the WFS’s

evil intent or reckless indifference to the rights of the plaintiff and which therefore support the

characterization of WFS’s behavior as outrageous and egregious. Further, plaintiff has not

alleged facts, if true, that would prove that the WFS actually realized any risk of injury to

plaintiff and acted in conscious disregard or indifference to that risk.

        Plaintiff’s general request for punitive damages in plaintiff’s “wherefore” clauses and

conclusory allegations that WFS acted “recklessly” do not relieve plaintiff of the obligation to

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plead the legally required knowledge and motive. Although WFS denies any allegations of

negligence, these conclusory allegations for punitive damages, including but not limited to

paragraph 66, are just embellished claims of negligence with no facts to support them. As such,

the punitive damages asserted in plaintiff’s Amended Complaint against WFS must be dismissed

with prejudice pursuant to the attached Order.

V.      RELIEF

        For the reasons set forth above and in the accompanying Motion to Dismiss, Worldwide

Flight Services, Inc. respectfully requests that the Court dismiss plaintiff’s Amended Complaint

because plaintiff has failed to set forth a cognizable cause of actions for Negligence (Count II).

Further, plaintiff’ s general request for punitive damages in plaintiff’s “wherefore” clauses and

conclusory allegations that WFS acted “recklessly” should be dismissed as plaintiff has not pled

the requisite elements for punitive damages pursuant to Pennsylvania law. Accordingly, all

claims against WFS shall be dismissed with prejudice.

                                             Respectfully submitted,

                                             WILSON, ELSER, MOSKOWITZ,
                                             EDELMAN & DICKER LLP


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Dated: December 9, 2020

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